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                                 UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION


ALEXANDER BOURNES,                              )
                                                )
                   Plaintiff,                   )
                                                )
                                                ) No. 1:16-cv-00790-SEB-MJD
         vs.                                    )
                                                ) Honorable Judge Sarah Evans Barker
                                                )
BYL COLLECTION SERVICE, LLC.
                                                ) Magistrate Judge Mark J. Dinsmore
                                                )
                   Defendant,
                                                )

                 AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Alexander

Bournes and Defendant BYL Collection Service, LLC, by their respective counsel, that the

above-captioned action and all claims asserted by the Plaintiff herein shall be dismissed, with

prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear its

own costs and attorney fees.

Dated: July 7, 2016                                 Respectfully Submitted,

/s/ Ryan J. Vershay                                 /s/ Nathan C. Volheim
Ryan J. Vershay, #28109-71                          Nathan C. Volheim, ARDC#6302103
Counsel for Defendant                               Counsel for Plaintiff
Lewis Wagner, LLP                                   Consumer Law Partners, LLC
501 Indiana Avenue                                  435 N. Michigan Avenue
Suite 200                                           Suite 1609
Indianapolis, IN 46202                              Chicago, IL 60611
Phone: (317) 237-0500                               Phone: (267) 422-1000
Email: rvershay@lewiswagner.com                     Fax: (267) 422-2000




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